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                                       UNITED STATES BANKRUPTCY COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                                         RIVERSIDE DIVISION


In Re. Okaysou Corp                                                 §                   Case No. 23-11535
                                                                    §
                                                                    §
                      Debtor(s)                                     §
                                                                                            Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 10/31/2023                                                        Petition Date: 04/17/2023

Months Pending: 7                                                                         Industry Classification:    5   9    6     1

Reporting Method:                              Accrual Basis                         Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   1



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ David Mickelson                                                          David Mickelson - Chief Restructuring Officer
Signature of Responsible Party                                               Printed Name of Responsible Party
12/07/2023
Date
                                                                             Post Office Box 1028 La Canada Flintridge, CA 91012
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

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Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                          $22,240
b.   Total receipts (net of transfers between accounts)                                       $37,903                        $0
c.   Total disbursements (net of transfers between accounts)                                  $26,473                        $0
d.   Cash balance end of month (a+b-c)                                                        $33,670
e.   Disbursements made by third party for the benefit of the estate                                 $0                      $0
f.   Total disbursements for quarterly fee calculation (c+e)                                  $26,473                        $0
Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                                      $0
b.   Accounts receivable over 90 days outstanding (net of allowance)                                 $0
c.   Inventory       ( Book        Market      Other      (attach explanation))            $1,248,594
d    Total current assets                                                                     $33,670
e.   Total assets                                                                          $1,340,940
f.   Postpetition payables (excluding taxes)                                                         $0
g.   Postpetition payables past due (excluding taxes)                                                $0
h.   Postpetition taxes payable                                                                      $0
i.   Postpetition taxes past due                                                                     $0
j.   Total postpetition debt (f+h)                                                                   $0
k.   Prepetition secured debt                                                                $720,097
l.   Prepetition priority debt                                                                       $0
m. Prepetition unsecured debt                                                                $898,343
n.   Total liabilities (debt) (j+k+l+m)                                                    $1,618,440
o.   Ending equity/net worth (e-n)                                                          $-277,500

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                              $0                      $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                         $0                      $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                        $0                      $0

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                                   $0
c.   Gross profit (a-b)                                                                              $0
d.   Selling expenses                                                                                $0
e.   General and administrative expenses                                                             $0
f.   Other expenses                                                                                  $0
g.   Depreciation and/or amortization (not included in 4b)                                           $0
h.   Interest                                                                                        $0
i.   Taxes (local, state, and federal)                                                               $0
j.   Reorganization items                                                                            $0
k.   Profit (loss)                                                                                   $0                      $0


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Part 5: Professional Fees and Expenses

                                                                                  Approved       Approved       Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
a.     Debtor's professional fees & expenses (bankruptcy) Aggregate Total                  $0
       Itemized Breakdown by Firm
                Firm Name                         Role
       i        Vahe Khojayan                     Lead Counsel                             $0
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                                                                                 Approved       Approved       Paid Current       Paid
                                                                               Current Month   Cumulative         Month         Cumulative
b.     Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total         $13,253       $46,958          $17,100         $17,100
       Itemized Breakdown by Firm
                Firm Name                        Role
       i        David Mickelson                  Financial Professional              $13,253       $46,958          $17,100         $17,100
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         c
c.       All professional fees and expenses (debtor & committees)             $13,252        $46,958         $17,100          $17,100




Part 6: Postpetition Taxes                                                              Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                      $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                         $0                          $0
c.   Postpetition employer payroll taxes accrued                                                        $0                          $0
d.   Postpetition employer payroll taxes paid                                                           $0                          $0
e.   Postpetition property taxes paid                                                                   $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                       $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                          $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)       Yes        No
b.   Were any payments made outside the ordinary course of business               Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                          Yes        No
d.   Are you current on postpetition tax return filings?                          Yes        No
e.   Are you current on postpetition estimated tax payments?                      Yes        No
f.   Were all trust fund taxes remitted on a current basis?                       Yes        No
g.   Was there any postpetition borrowing, other than trade credit?               Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by          Yes        No    N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                     Yes        No
                                 If yes, are your premiums current?               Yes        No    N/A       (if no, see Instructions)
                             Casualty/property insurance?                         Yes        No
                                 If yes, are your premiums current?               Yes        No    N/A       (if no, see Instructions)
                             General liability insurance?                         Yes        No
                                 If yes, are your premiums current?               Yes        No    N/A       (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                      Yes        No
k.   Has a disclosure statement been filed with the court?                        Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                          Yes        No
     set forth under 28 U.S.C. § 1930?




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Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



David Mickelson                                                                 David Mickelson
Signature of Responsible Party                                                  Printed Name of Responsible Party

Chief Restructuring Officer                                                     09/08/2023
Title                                                                           Date




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                                            Bankruptcy1to50




                                           Bankruptcy51to100




                                          NonBankruptcy1to50




                                         NonBankruptcy51to100




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                               Financial Notes & Budget
                                    Okaysou Corp

                                    October 31, 2023

I. Okaysou Corp Background

   A. On April 17, 2023, the Debtor filed Chapter 11 Bankruptcy.

   B. On August 23, 2023, Amazon provided partial access to the Seller Central account.

   C. From August 23, 2023 to September 1, 2023, the Debtor had access to the Seller
      Central account and was able to begin restoring the functionality of the platform.

   D. On September 2, 2023, Amazon revoked access to the Seller Central account.

   E. On September 12, 2023, Amazon granted full access to the Seller Central account
      and the Debtor began to restore the functionality of the platform.

   F. On September 15, 2023, Okaysou Corp began selling filters (not air purifiers),
      through the Amazon Seller Central platform.

   G. As of October 31, 2023 Amazon disbursed $37,902.44 of funds from sales.

II. Financial Model Assumptions

   A. From October 1, 2023 to October 31, 2023, Okaysou Corp’s sales totaled ~ $67,051.

   B. From September 15, 2023 to October 14, 2023, Okaysou sales totaled ~ $67,729 vs.
      2022 sales of $701,744 a YoY decline of 90.3%; CAD sales totaled $8,641 in the
      current period. Recent sales are based solely on the sale of filters only.

   C. 2022 Amazon sales were based on the sale of air purifiers and filters, hence a higher
      average unit price of $82.43 vs. $36.03 in 2023.

   D. 2022 Amazon units totaled 8,513 vs. 1,880 in 2023.

   E. Additionally, over the period from April 18, 2023 to August 20, 2023 sales from US
      & Canada totaled ~ $1,247,208. There is a second segment of sales through the
      Shopify FBA platform totaling $485,818 for combined gross sales of $1,733,026.

III. Six Month Budget

   A. Okaysou Corp’s short-term budget is based on the following criteria:
      a. Limited product availability from Amazon inventory;
      b. Limited types of products from Amazon’s inventory, effectively – only filters;
      c. Access to Can-Sail inventory shipped to Amazon’s warehouses;
      d. Potential purchase of new inventory (filters) from China.
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IV. Amazon Disbursements

   A. It should be noted, given the Debtor had no ability to sell inventory from April
      17, 2023 to September 14, 2023, though Amazon was selling US and Canadian
      inventory and at the same time Amazon was fulfilling Shopify sales FBA. During
      this period Amazon was charging various types of fees. Further, the lack of capital
      and liquidity from actual unauthorized distributions of $522,364 that could have
      been used to address inventory deficiencies will inhibit the Debtor’s sales on a
      going forward basis; to date, no disbursements have been made from the Amazon
      Seller Central account.

   B. Due to the Debtor’s lack of access to (i) the Amazon Seller Central account, (ii)
      product sales via Amazon channels, (iii) Amazon’s unauthorized disbursements
      defined in point IV. A, and (iv) Amazon’s withholding funds in lieu of making
      proper disbursements to the Debtor’s estate, product sales will be limited until
      such time as a reconciliation of all sales and disbursements are made.

V. Cash Collateral Motion

   A. On August 17, 2023 the Court Granted continued use of Cash Collateral based on
      the previous July 24, 2023 Order. At that time Amazon was granted an Adequate
      Protection Payment of $80,381.33.

   B. The Order also requested Amazon disburse $30,000 from the Debtor’s Seller
      Central account – no funds have been received by the Debtor’s Estate.

   C. In preparation of the Okaysou Corp’s Six Month Budget, a fraction of the
      Adequate Protection Payment is feasible. In the month of October 2023, the Budget
      allows a $20,000 payment; each of the successive months the Adequate Protection
      Payment increases by $5,000. The March 2024 Adequate Protection Payment will
      total $45,000.

   D. Given the financial background between Okaysou and Amazon over the past six
      months, an increase in sales is achievable, but it depends on Amazon’s
      disbursement to the Debtor of $522,364 of unauthorized funds to unrelated third-
      parties; the disbursement of funds to the Debtor should be considered a Recapture
      of funds or Clawback provision.

   E. Given the Debtor’s Operating Cash Flow increases gradually, the source for
      Adequate Payment Protection will be provided out of the Debtor’s Operating Cash
      Flow and Other Adjustments to Cash Balances as shown Disbursements /
      Adjustments from the budget.

VI. Limited Inventory Purchase

   A. To maximize the Debtor’s estate and provide an increase in Operating Cash flow,
      a small amount of inventory of approximately $25,000 will need to be purchased.
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   B. The rationale is that since Okaysou Corp has sold over ~ $22.5M (based on 1099’s),
       of air purifiers and filters from 2019 through 2022, this modest inventory purchase
       of filters supports the ongoing operations. In the alternative, if no additional
   inventory is purchased, there is an assumption that many of the air purifiers will be
   returned due to the lack of continuing of Okaysou Corp’s five year warrantee for the
   air purifiers.

VII. Recommendations & Conclusions

      1. Over the past thirty days, the Debtor has reestablished Okaysou Corp’s market presence
      on the Amazon platform.

      2. The Debtor has significant inventory and A/R’s to support operations.

      3. Third-party inventory needs to be shipped to Amazon’s warehouses.

      4. To further support operations, Amazon needs to disburse unauthorized funds due
      Debtor’s Estate.

      5. Based on the Proposed Budget, Okaysou Corp’s operations will strengthen over the next
      six months.

      6. Amazon to provide the Debtor with a reconciliation of cash balances and payments.



Respectfully Submitted,




David Mickelson
Chief Restructuring Officer under 11 USC 363
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Okaysou Corp Financial Disclosure Notes – October 31, 2023


   Supporting Documentation

   1. During the month of October 2023, the Debtor estate received $37,902.44 from
      Amazon. Okaysou Corp’s sales for the period totaled $67,051.

   2. During the month of October 2023, the Debtor estate began disbursing funds to
      third-party entities.

   3. No balance sheet has been prepared, no current financial statements have been
      provided by the Debtor.

   4. The Debtor does not report any Accounts Receivable nor agings.
   5.     The Debtor does not report any Liability or Payable Agings.
   6. A Statement of Capital Assets for 2022 & 2023 has not been provided by the Debtor.
      Effectively, given the Debtor had not reported any Capital Assets on the 2021
      Corporate Tax Returns, it is unlikely that the Debtor has any Capital Assets.

   7. Assets may have been sold through Amazon’s Seller Central platform.

Part 1.

          A. Receipts and Disbursements are under the control of Amazon; therefore the
             Debtor has no control over this category. Receipts and Disbursements are
             under the control of Shopify; therefore the Debtor has no control over this
             category.

Part 2.

          A. (a) Accounts Receivable are under control of Amazon. The Debtor has no
             control or access to proceeds from the Amazon unless disbursed:

             (a) Amazon Net Accounts Receivable for the period ending October 31, 2023
                 are ~

             (a) Amazon Net Accounts Receivable for the period ending September 30, 2023
                 are ~ $877,828.

          B. (a) Amazon Net Accounts Receivable for the period ending August 31, 2023
             are ~ $860,574.

          C. (a) Amazon Net Accounts Receivable for the period ending July 31, 2023 are ~
             $860,490.
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      D. (a) Amazon Net Accounts Receivable for the period ending June 30, 2023 are ~
         $699,950.

      E. (a) Amazon Net Accounts Receivable for the period ending May 31, 2023 are ~
         $497,986.

      F. (a) Amazon Net Accounts Receivable for the period ending April 30, 2023 are
         ~ $181,558.

      G. (a) Shopify Accounts Receivable are under the control of Shopify in Canada
         but fulfilled through Amazon (FBA). The Debtor has not control or access to
         proceeds from the Shopify account.

      H. (a) Shopify Gross Accounts Receivable for the period ending October 31, 2023

      I. (a) Shopify Gross Accounts Receivable for the period ending September 30,
         2023 are ~ $487,499, but Amazon shipping charges of ~ seven percent (7%) have
         not been deducted. Additionally, Shopify Capital charges of ~ twenty-five
         percent ( 25%) have not been deducted from the gross accounts receivable.

      J. (a) Shopify Gross Accounts Receivable for the period ending August 31, 2023
         are ~ $485,818, but Amazon shipping charges of ~ seven percent (7%) have not
         been deducted. Additionally, Shopify Capital charges of ~ twenty-five percent
         ( 25%) have not been deducted from the gross accounts receivable.

      K. (a) Shopify Gross Accounts Receivable for the period ending August 8, 2023
         are ~ $485,818, but the Amazon shipping charges of ~ seven percent (7%) have
         not been deducted. Additionally, Shopify Capital charges of ~ twenty-five
         percent (25%) have not been deducted from the gross accounts receivable.

      L. (a) Shopify Gross Accounts Receivable for the period ending July 31, 2023 are
         ~ $368,694, but the Amazon shipping charges of ~ seven percent (7%) have not
         been deducted. Additionally, Shopify Capital charges of ~ twenty-five percent
         (25%) have not been deducted from the gross accounts receivable.

      M. (a) Shopify Gross Accounts Receivable for the period ending June 30, 2023 are
         ~ $251,570, but the Amazon shipping charges of ~ seven percent (7%) have not
         been deducted. Additionally, Shopify Capital charges of ~ twenty-five percent
         (25%) have not been deducted from the gross accounts receivable.

      N. (a) Shopify Gross Accounts Receivable for the period ending May 31, 2023 are
         ~ $102,200, but the Amazon shipping charges of ~ seven percent (7%) have not
         been deducted. Additionally, Shopify Capital charges of ~ twenty-five percent
         (25%) have not been deducted from the gross accounts receivable.

      O. (a) Shopify Gross Accounts Receivable for the period ending April 30, 2023 are
         ~ $14,124, but the Amazon shipping charges of ~ seven percent (7%) have not
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         been deducted. Additionally, Shopify Capital charges of ~ twenty-five percent
         (25%) have not been deducted from the gross accounts receivable.

      P. (a) Summary (A-K) – Amazon Net Accounts Receivable through September 30,
         2023 total $877,828. Shopify Gross Accounts Receivable through September 30,
         2023 total $487,499 CAD or $353,260 @ an exchange rate of 1.38. The combined
         Accounts Receivable from Amazon & Shopify total USD of $1,231,088; these
         Accounts Receivable need to be reconciled to the Amazon’s Disbursement
         Schedule.

      Q. (c) Okaysou Corp 2021 tax return balance sheet reflects inventory as zero. There
         is contractual inventory (sold by Amazon) held as collateral for the Debtors
         secured lien – liability. Recent discoveries based on Amazon and Third-Party
         providers from August 20, 2023 to August 31, 2023 have established additional
         inventory located in Los Angeles and Riverside County of a range between
         $600,000 to $800,000. A physical inspection of one Third-Party location has
         confirmed ~ $400,000 of finished goods inventory (book value), market value
         is ~ $800,000.

      R. (c) an inventory adjustment of eight-one percent (81%) has been applied
         against sales during the October 2023 period. Based on October net sales of
         $67,051, an adjustment of $54,311 has been applied to October 2023 inventory.

      S. (c) an inventory adjustment of eighty-one percent (81%) has been applied
         against sales during the September 2023 period. Based on September net sales
         of $36,189, an adjustment of $29,313 has been applied to September 2023
         inventory.

      T. (c) an inventory adjustment of eighty-one percent (81%) has been applied
         against sales during the August 2023 period. Based on August net sales of $122,
         an adjustment of $99 has been applied to August 2023 inventory.

      U. (c) an inventory adjustment of eighty-one percent (81%) has been applied
         against sales during the July 2023 period. Based on July net sales of $160,540,
         an adjustment of $130,037 has been applied to July 2023 inventory.

      V. (c) an inventory adjustment of eighty-one percent (81%) has been applied
         against sales during the June 2023 period. Based on June net sales of $201,964,
         an adjustment of $163,590.84 has been applied to June 2023 inventory.

      W. (c) an inventory adjustment of eight-one percent (81%) has been applied
         against sales during the May 2023 period. Based on May net sales of $316,428,
         an adjustment of $256,306.68 has been applied to May 2023 inventory.

      X. (c) an inventory adjustment of eighty-one percent (81%) has been applied
         against sales during the April 2023 period. Based on April net sales of $181,558,
         an adjustment of $147,061.98 has been applied to April 2023 inventory.
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          Y. (c) no inventory adjustment has been applied to Shopify sales. Total Shopify
             sales which are fulfilled via Amazon distribution channels from August 1, 2023
             to August 20, 2023 total $117,124. No reporting was received during the period
             of August 21, 2023 to August 31, 2023

          Z. (c) no inventory adjustment has been applied to Shopify sales. Total Shopify
             sales which are fulfilled via Amazon distribution channels from July 1, 2023 to
             July 31, 2023 total $117,124.

          AA. (c) no inventory adjustment has been applied to Shopify sales. Total Shopify
            sales which are fulfilled via Amazon distribution channels from April 18, 2023
            to June 30, 2023 total $251,570.


Part 4.


          A. At this time, no Statement of Operations can be provided. While the Amazon
             Seller Central platform reported domestic and international gross sales from
             April 20, 2023 to April 30, 2023 of $263,127 & net sales of $181,558.

          B. While the Amazon Seller Central platform reported domestic and international
             gross sales from May 1, 2023 to May 31, 2023 of $458,592 & net sales of $316,428,
             no proceeds have been disbursed or received by the Okaysou Corp estate.

          C. While the Amazon Seller Central platform reported domestic and international
             gross sales from June 1, to June 30, 2023 of $292,701 & net sales of $201,964,
             Amazon sent an unauthorized disbursement of $255,083.13 to Souxing Tech
             account number 0361.

          D. While the Amazon Seller Central platform reported domestic and international
             gross sales from July 1, 2023 to July 31, 2023 of $232,666 & net sales of $160,540,
             Amazon sent a series of unauthorized disbursements from April 18, 2023 to
             July 26, 2023 totaling $267,281.21.

          E. While the Amazon Seller Central platform reported domestic and international
             gross sales from August 1, 2023 to August 20, 2023 of $122 and net sales of $99,
             Amazon did not disburse any funds during the period.

          F. While the Amazon Seller Central platform reported domestic and international
             gross sales from September 16, 2023 to September 30, 2023 of $36,189, Amazon
             did not disburse any funds during the period.
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          G. As of September 2, 2023, 2:00pm PST, Amazon revoked and has locked out the
             CRO from access to the account. Numerous attempts have been made to
             understand the rationale, but have been unsuccessful.

          H. As of September 14, 2023, Amazon reactivated the account, but security issues
             remain.

          I. Based on forecasted sales from April 18, 2023 to August 31, 2023, the Okaysou
             Corp estate should have sufficient working capital for operations to preserve
             its value. Additionally, the company should be profitable.

Part 7.

          A. The CRO is in the process of confirming tax and related payments. A request
             has been made to employ the Debtor’s accounting firm to file Federal and State
             Tax Returns.

          B. On October 3, 2023, Capital Premier CPA’s efiled Okaysou Corp Federal &
             State Tax returns; the estate issued check # 104 on October 5, 2023 in the
             amount of $2,100 for tax services.

          C. On September 29, 2023, the estate issued check # 102 for the USTrustees
             Quarterly fee in the amount of $452.




Sincerely,




David Mickelson
North Cape Advisors
Chief Restructuring Officer under 11 USC 363
Case #: 6:23-bk-11535
okaysoucorp.ddm@gmail.com
818 631-6784
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                            Okaysou Corp Bank Journal October 1, 2023 to October 31, 2023

 Date      Description                      Type               Amount        Credit       Debit        Check #   Balance

10/31/23   SHIP SAVING          CITY OF INDU
                                          Shipping
                                               CA                   (9.69)                    (9.69)             33,669.53
10/31/23   ZELLE TO MIGUEL BARCO            Office               (350.00)                  (350.00)              33,679.22
10/31/23   CCD AMAZON.C5P5CW939 PAYMENTS
                                   Deposit                     12,650.36     12,650.36                           34,029.22
10/30/23   ZELLE TO MIGUEL BARCO            Office                  (5.00)                    (5.00)             21,378.86
10/26/23   CCD ShipSaving     ACCTVERIFYShipping                    (0.17)                    (0.17)             21,383.86
10/26/23   SHIP SAVING          CITY OF INDU
                                          Shipping
                                               CA                  (11.62)                   (11.62)             21,384.03
10/26/23   CCD ShipSaving     ACCTVERIFYShipping                     0.12         0.12                           21,395.65
10/26/23   CCD ShipSaving     ACCTVERIFYShipping                     0.05         0.05                           21,395.53
10/25/23   DDA CHECK                        Accountant          (2,100.00)                (2,100.00)     104     21,395.48
10/25/23   ZELLE TO JACQUELINE SMITH        Insurance           (1,012.85)                (1,012.85)             23,495.48
10/18/23   DDA CHECK                        NCA                 (8,550.00)                (8,550.00)     106     24,508.33
10/18/23   DDA CHECK                        US Trustee           (452.00)                  (452.00)      102     33,058.33
10/17/23   CCD AMAZON.COZGWTGPF PAYMENTS
                                  Deposit                      23,849.01     23,849.01                           33,510.33
10/17/23   CCD AMAZON.CH2SYGZMO PAYMENTS
                                  Deposit                       1,403.07      1,403.07                            9,661.32
10/10/23   DDA CHECK                        Rexford - Rent      (5,301.50)                (5,301.50)     103      8,258.25
10/10/23   CCD AMAZON.CRLCY2MRV PAYMENTS
                                  Deposit                            0.01         0.01                           13,559.75
10/2/23    DDA CHECK                        NCA                 (8,550.00)                (8,550.00)     101     13,559.74
10/2/23    READYREFRESH WATERSERV          800
                                            Office
                                               274 5282 CA       (129.95)                  (129.95)              22,109.74

                                                               11,429.84     37,902.62   (26,472.78)             22,239.69
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                                                                 BMO BANK N.A.                       350201
                                                                 P.O. BOX 94033
            *
                                                                 PALATINE, IL   60094-4033

            6




                                                                     ACCOUNT    NUMBER:
            8




            0




                                                                                   Statement Period
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                                         90   05646                                 IM0099002900000000
            F
                         OKAYSOU CORP                                           PAGE         1 OF    2
                         DEBTOR-IN-POSSESSION
            *




                         GENERAL ACCOUNT
    0                    603 S MILLIKEN AVE STE G
                         ONTARIO CA 91761-8102


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    IF YOU HAVE QUESTIONS ABOUT ANY OF YOUR BMO ACCOUNTS, PLEASE CALL US
    TOLL-FREE AT 1-888-340-2265. BMO BANK N.A. MEMBER FDIC. EQUAL HOUSING
    LENDER. NMLS401052 VISIT US ONLINE AT WWW.BMO.COM.
__________________________________________________________________________________________
                               CHECKING ACCOUNTS
__________________________________________________________________________________________
BMO SIMPLE BUSINESS CKG                                        OKAYSOU CORP
ACCOUNT NUMBER      0079169546     (Checking)
__________________________________________________________________________________________

   DEPOSIT ACCOUNT SUMMARY
   Previous Balance as of September 30, 2023                           22,239.69
       6 Deposits                  (Plus)                              37,902.62
      12 Withdrawals              (Minus)                              26,472.78
   Ending Balance as of   October    31, 2023                          33,669.53

   Deposits and Other Credits
      Date                 Amount      Description
      Oct 10                  .01      ACH DEPOSIT
                                       CCD AMAZON.CRLCY2MRV PAYMENTS
        Oct 17            1,403.07     ACH DEPOSIT
                                       CCD AMAZON.CH2SYGZMO PAYMENTS
        Oct 17           23,849.01     ACH DEPOSIT
                                       CCD AMAZON.COZGWTGPF PAYMENTS
        Oct 26                  .05    ACH DEPOSIT
                                       CCD ShipSaving       ACCTVERIFY
        Oct 26                  .12    ACH DEPOSIT
                                       CCD ShipSaving       ACCTVERIFY
        Oct 31           12,650.36     ACH DEPOSIT
                                       CCD AMAZON.C5P5CW939 PAYMENTS
   Withdrawals and Other Debits
      Date                 Amount      Description
      Oct 02               129.95      POS PURCHASE             RECORD NO. 315555    CARD NO. 9138
                                       READYREFRESH WATERSERV      800 274 5282   CA
        Oct 25            1,012.85     TRANSFER OUT             RECORD NO. P0K09D
                                       ZELLE TO JACQUELINE SMITH
        Oct 26                11.62    POS PURCHASE             RECORD NO. 501371    CARD NO. 9138
                                       SHIP SAVING                 CITY OF INDU   CA
        Oct 26                  .17    ACH DEBIT
                                       CCD ShipSaving         ACCTVERIFY
        Oct 30                 5.00    TRANSFER OUT             RECORD NO. P0L0DM
                                       ZELLE TO MIGUEL BARCO
        Oct 31               350.00    TRANSFER OUT             RECORD NO. P0C07V
                                       ZELLE TO MIGUEL BARCO
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                                                                 BMO BANK N.A.                          350202
                                                                 P.O. BOX 94033
            *
                                                                 PALATINE, IL   60094-4033

            6




                                                                     ACCOUNT    NUMBER:
            0




            0




                                                                                   Statement Period
            4




                                                                                10/01/23 TO 10/31/23
            1
                                       90   05646                                   IM0099002900000000
            B
                            OKAYSOU CORP                                        PAGE          2 OF      2
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                      ________________________________________
                                                          _________________________________
        Oct 31               9.69    POS PURCHASE               RECORD NO. 001888    CARD NO. 9138
                                     SHIP SAVING                   CITY OF INDU   CA
  Checks by Serial Number
     Date        Serial #                Amount         Date       Serial #                    Amount
     Oct 02           101              8,550.00        Oct 25           104                  2,100.00
     Oct 18           102                452.00        Oct 18           106 *                8,550.00
     Oct 10           103              5,301.50
     * Indicates break in check sequence
  Daily Balance Summary
     Date                 Balance             Date                   Balance
     Sep 30             22,239.69             Oct 25               21,395.48
     Oct 02             13,559.74             Oct 26               21,383.86
     Oct 10              8,258.25             Oct 30               21,378.86
     Oct 17             33,510.33             Oct 31               33,669.53
     Oct 18             24,508.33
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